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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

TRACY GRIFFITH CONSULTING LLC                       §
d/b/a ASCENDIUM GROUP,                              §
                                                    §
                 Plaintiff,                         §
                                                    §
v.                                                  §                 CASE NO. 3:16-CV-03044-C
                                                    §
ONE JET, INC. f/k/a/ PRIMAIR, INC.,                 §
                                                    §
                 Defendant.                         §

 PLAINTIFF TRACY GRIFFITH CONSULTING LLC d/b/a ASCENDIUM GROUP’S
   ORIGINAL ANSWER TO DEFENDANT ONE JET, INC.’S COUNTERCLAIM

       Plaintiff Tracy Griffith Consulting LLC d/b/a Ascendium Group (“Ascendium”) files

this Original Answer to Defendant One Jet, Inc. f/k/a Primair, Inc.’s (“One Jet”) Counterclaim.

                                             ANSWER

       Ascendium responds to the allegations in One Jet’s Counterclaim by correspondingly

numbered paragraphs as follows:

       1.         Ascendium lacks knowledge or information sufficient to form a belief about the

truth of the allegations in the paragraph.

       2.        Ascendium admits that it and One Jet were parties to a written agreement

concerning the provision of consulting services, but denies the remainder of the allegations in

the paragraph.

       3.        Ascendium denies the allegations in the paragraph.

       4.        Ascendium denies the allegations in the paragraph.

       5.        Ascendium lacks knowledge or information sufficient to form a belief about the

truth of the allegations in the paragraph.

       6.        Ascendium admits the allegations in the paragraph.
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       7.       Ascendium lacks knowledge or information sufficient to form a belief about the

truth of the allegations in the paragraph.

       8.       Ascendium lacks knowledge or information sufficient to form a belief about the

truth of the allegations in the paragraph.

       9.       Ascendium lacks knowledge or information sufficient to form a belief about the

truth of the allegations in the paragraph.

       10.     Ascendium admits that it and One Jet entered an agreement on or around

October 2, 2014, for the provision of airline consulting services, and that One Jet agreed to pay

Ascenium for its services, but denies the remainder of the allegations in the paragraph.

       11.     Ascendium denies the allegations in the paragraph.

       12.     Ascendium denies the allegations in the paragraph.

       13.     Ascendium denies the allegations in the paragraph.

       14.     No response is required.

       15.     Ascendium admits the allegations in the paragraph.

       16.     Ascendium denies the allegations in the paragraph.

       17.     Ascendium denies the allegations in the paragraph.

       18.     Ascendium denies the allegations in the paragraph.

                                          CONCLUSION

       Ascendium requests that the Court:

       1.      Enter judgment for Ascendium on One Jet’s counterclaims;

       2.      Enter judgment for Ascendium on Ascendium’s claims;

       3.      Award Ascendium its damages, attorneys’ fees, pre- and post-judgment interest,

       and costs of court; and



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       4.      Award Ascendium any other relief, at law or in equity, to which it may be justly

       entitled.



                                            Respectfully submitted,



                                            /s/ Calli A. Turner
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                                            ATTORNEYS FOR PLAINTIFF AND
                                            COUNTER DEFENDANT TRACY GRIFFITH
                                            CONSULTING LLC d/b/a ASCENDIUM
                                            GROUP




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 23rd day of November, 2016, a true and correct copy of the
foregoing document was served by electronic transmission through the Court’s Case
Management Electronic Case Filing system.


                                                  /s/ Calli A. Turner
                                                  Calli A. Turner




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